Case 8:21-cv-02524-SDM-TGW Document 42 Filed 01/12/22 Page 1 of 4 PageID 687




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA

 STATE OF FLORIDA,
                      Plaintiff,
               v.
                                                  No. 8:21-cv-2524-SDM-TGW
 BILL NELSON, in his official capacity
 as Administrator of NASA, et al.,
                      Defendants.

          JOINT MOTION TO STAY DISTRICT COURT PROCEEDINGS
                           PENDING APPEAL

      The parties jointly request that this Court stay further proceedings in this matter

pending final resolution of Defendants’ appeal from the Court’s Opinion and Order

granting Plaintiffs’ motion for a preliminary injunction, except insofar as the Court

plans to resolve the remainder of Plaintiff’s motion for preliminary injunction. See

ECF Nos. 37 and 40 (“Opinion and Order”). 1

      On December 22, 2021, the Court granted in part Florida’s motion for a prelim-

inary injunction on Florida’s claim that the President likely exceeded his statutory au-

thority under the Federal Procurement and Administrative Services Act (FPASA).

ECF No. 37. And on December 30, 2021, the Court issued an order enjoining the

Federal Government “from enforcing within Florida any contract clause requiring

compliance with the COVID Safety Protocols for Federal Contractors described in



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         Defendants do not concede that the Court would have jurisdiction to issue any
further orders or opinions related to Florida’s motion for a preliminary injunction, in
light of Defendants’ appeal of the preliminary injunction to the Eleventh Circuit. ECF
No. 41.
Case 8:21-cv-02524-SDM-TGW Document 42 Filed 01/12/22 Page 2 of 4 PageID 688




Executive Order 14042 . . . or from denying Florida a government contract based on

Florida’s refusal to agree to such a contract clause.” ECF No. 40. Defendants noticed

their appeal of the Court’s Opinion and Order on January 12, 2022. See ECF No. 41.

Defendants are currently obligated to respond to Plaintiffs’ amended complaint on or

before January 21, 2022. ECF No. 37.

       The parties agree and respectfully suggest that a stay of proceedings pending the

final resolution of Defendants’ appeal will both promote judicial economy and pre-

serve the resources of the parties and this Court. See Landis v. N. Am. Co., 299 U.S.

248, 254 (1936) (A district court’s “power to stay proceedings is incidental to the power

inherent in every court to control the disposition of the causes on its docket with econ-

omy of time and effort for itself, for counsel, and for litigants.”); accord Claridy v. City

of Lake City, No. 3:13-cv-558, 2014 WL 11430972, at *1 (M.D. Fla. Nov. 25, 2014).

Defendants’ appeal implicates important legal issues that the parties and the Court will

likely have to address in future proceedings, including the scope of the President’s au-

thority under FPASA—an issue addressed by “[o]nly sparse authority” and “none in

the Eleventh Circuit.” ECF 37 at 24.

       An appellate decision on those issues (and others) will thus likely provide the

Court and the parties significant aid in the ultimate resolution of this case. Further-

more, the parties’ proposed stay is of a limited and definite duration that will not cause

undue delay in the resolution of this case.

       Furthermore, although the Court has ruled on Florida’s motion for preliminary

injunction regarding the President’s authority under FPASA, the Court retained under

                                              2
Case 8:21-cv-02524-SDM-TGW Document 42 Filed 01/12/22 Page 3 of 4 PageID 689




advisement the balance of Florida’s motion. ECF No. 37 at 35, 37–38. The filing of

the stay motion is not intended to preclude the Court from issuing further orders or

opinions regarding the balance of Florida’s motion if it so chooses.

       Accordingly, the parties respectfully request that the Court stay further district

court proceedings in this matter until the parties have exhausted appellate proceedings.



DATED: January 12, 2022                  Respectfully submitted,

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                                           3
Case 8:21-cv-02524-SDM-TGW Document 42 Filed 01/12/22 Page 4 of 4 PageID 690




                            CERTIFICATE OF SERVICE

       On January 12, 2022, I electronically submitted the foregoing document with

the clerk of court for the U.S. District Court, Middle District of Florida, using the

electronic case filing system of the Court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).

                                         /s/ Zachary A. Avallone
                                         ZACHARY A. AVALLONE
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